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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
        UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                   v.                                                   (For Revocation of Probation or Supervised Release)


                                                                        Case No.            2:19CR20003-001
           JOHN MICHAEL CLEMENT
                                                                        USM No.             15271-010
                                                                                                         James Pierce
                                                                                                      Defendant’s Attorney
THE DEFENDANT:
    admitted guilt to violations:                       Violations No. 1-2                        of the term of supervision.
    was found in violation of condition(s) count(s)                          after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                    Violation Ended

1                            Mandatory Condition: New Law Violation                                                 September 11, 2020
2                            Mandatory Condition: New Law Violation                                                 September 11, 2020

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

     The defendant has not violated violation(s);                                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 6425                                                    January 12, 2021
                                                                                               Date of Imposition of Judgment
Defendant’s Year of Birth:         1993
                                                                                                      /s/ P.K. Holmes, III
City and State of Defendant’s Residence:                                                               Signature of Judge
                  Fort Smith, Arkansas
                                                                                 Honorable P.K. Holmes, III, U.S. District Judge
                                                                                                  Name and Title of Judge


                                                                                                         January 12, 2021
                                                                                                             Date
       Case 2:19-cr-20003-PKH Document 42                                   Filed 01/12/21 Page 2 of 2 PageID #: 126
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2—Imprisonment

                                                                                                 Judgment — Page   2       of   2
DEFENDANT:                JOHN MICHAEL CLEMENT
CASE NUMBER:              2:19CR20003-001


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: Time served. There is no term of supervised release to follow.


        The court makes the following recommendations to the Bureau of Prisons:

        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:

             at                                       a.m.           p.m.       on                                     .

             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             before 2 p.m. on                                               .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                        to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                            By
                                                                                           DEPUTY UNITED STATES MARSHAL
